North Carolina General Assembly               Ideal Vrs. Actual Populations Based on 2010 Census Results   Data Source: 2010 Census
                                                                      Wake 7 New

                                               District   2010 Pop Ideal Pop Ideal +/-          % +/-
                                                  1         128,713 128,713           0          0.00%
                                                  2         128,713     128,713            0      0.00%
                                                  3         128,713     128,713            0      0.00%
                                                  4         128,713     128,713            0      0.00%
                                                  5         128,714     128,713            1      0.00%
                                                  6         128,714     128,713            1      0.00%
                                                  7         128,713     128,713            0      0.00%




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North Carolina General Assembly                                                                Stat. Pack Report of Total Population by Race and Ethnicity                                                                      Data Source: 2010 Census
                                                                                                                      Wake 7 New

                                                                                Total Population by Race                                                                                            Total Population by Ethnicity
                                                                                                                                                              % MR    Total     Total %                                % Non     White     % White
   District      Total        White    % White    Black    % Black    NA     % NA      A/PI   % A/PI    Other     % Other       MR        % MR     MR Black   Black   Black     Black     Hisp     % Hisp   Non Hisp    Hisp    Non Hisp   Non Hisp
      1         128,713      91,019    70.71%    25,223    19.60%     658    0.51%    3,023    2.35%     5,562     4.32%       3,228      2.51%      1,520    1.18%   26,743    20.78%    11,887    9.24%   116,826    90.76%   86,115      66.90%
      2         128,713      109,451   85.03%     9,764     7.59%     325    0.25%    4,713    3.66%     2,198     1.71%       2,262      1.76%       872     0.68%   10,636     8.26%     5,864    4.56%   122,849    95.44%   106,289     82.58%
      3         128,713      59,817    46.47%    46,989    36.51%     860    0.67%    5,108    3.97%    11,658     9.06%       4,281      3.33%      2,444    1.90%   49,433    38.41%    22,512   17.49%   106,201    82.51%   51,850      40.28%
      4         128,713      54,413    42.27%    58,922    45.78%     682    0.53%    3,216    2.50%     8,443     6.56%       3,037      2.36%      1,816    1.41%   60,738    47.19%    15,681   12.18%   113,032    87.82%   49,085      38.14%
      5         128,714      83,402    64.80%    20,554    15.97%     762    0.59%   13,581   10.55%     6,601     5.13%       3,814      2.96%      1,640    1.27%   22,194    17.24%    14,271   11.09%   114,443    88.91%   77,341      60.09%
      6         128,714      102,383   79.54%    10,484     8.15%     609    0.47%    9,583    7.45%     3,000     2.33%       2,655      2.06%       955     0.74%   11,439     8.89%     8,278    6.43%   120,436    93.57%   97,904      76.06%
      7         128,713      97,061    75.41%    14,574    11.32%     607    0.47%    9,716    7.55%     3,466     2.69%       3,289      2.56%      1,321    1.03%   15,895    12.35%     9,429    7.33%   119,284    92.67%   91,952      71.44%
   Totals:      900,993      597,546   66.32%    186,510   20.70%    4,503   0.50%   48,940    5.43%    40,928     4.54%      22,566      2.50%     10,568    1.17%   197,078   21.87%    87,922    9.76%   813,071    90.24%   560,536     62.21%




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North Carolina General Assembly                                                               Stat. Pack Report of Voting Age Population by Race and Ethnicity                                                                     Data Source: 2010 Census
                                                                                                                        Wake 7 New

                                                                             Voting Age Population by Race                                                                                             Total Population by Ethnicity
                                                                                                                                                                 % MR    Total     % Total                                % Non     White     % White
   District      Total        White    % White    Black    % Black    NA     % NA      A/PI    % A/PI     Other     % Other       MR       % MR     MR Black     Black   Black      Black    Hisp     % Hisp   Non Hisp    Hisp    Non Hisp   Non Hisp
      1         91,466       66,622    72.84%    17,527    19.16%     443    0.48%    2,097     2.29%      3,401     3.72%       1,376     1.50%      537        0.59%   18,064    19.75%     7,134    7.80%   84,332     92.20%   63,596      69.53%
      2         96,786       83,147    85.91%     7,324     7.57%     225    0.23%    3,539     3.66%      1,455     1.50%       1,096     1.13%      361        0.37%    7,685     7.94%     3,881    4.01%   92,905     95.99%   81,029      83.72%
      3         93,937       47,564    50.63%    32,360    34.45%     575    0.61%    3,871     4.12%      7,446     7.93%       2,121     2.26%     1,052       1.12%   33,412    35.57%    14,217   15.13%   79,720     84.87%   42,439      45.18%
      4         101,564      48,189    47.45%    43,130    42.47%     500    0.49%    2,713     2.67%      5,192     5.11%       1,840     1.81%      952        0.94%   44,082    43.40%     9,853    9.70%   91,711     90.30%   44,650      43.96%
      5         101,407      69,055    68.10%    15,060    14.85%     503    0.50%   10,234    10.09%      4,370     4.31%       2,185     2.15%      820        0.81%   15,880    15.66%     9,529    9.40%   91,878     90.60%   64,895      63.99%
      6         94,066       76,284    81.10%     7,657     8.14%     407    0.43%    6,712     7.14%      1,849     1.97%       1,157     1.23%      354        0.38%    8,011     8.52%     5,040    5.36%   89,026     94.64%   73,519      78.16%
      7         87,154       66,914    76.78%    10,138    11.63%     402    0.46%    6,348     7.28%      2,080     2.39%       1,272     1.46%      459        0.53%   10,597    12.16%     5,508    6.32%   81,646     93.68%   63,880      73.30%
   Totals:      666,380      457,775   68.70%    133,196   19.99%    3,055   0.46%   35,514     5.33%     25,793     3.87%      11,047     1.66%     4,535       0.68%   137,731   20.67%    55,162    8.28%   611,218    91.72%   434,008     65.13%




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North Carollina General Assembly                                                                        Stat. Pack Report of Voter Registration by Party and Race                                                                      Data Source: NC Board of Elections
                                                                                                                              Wake 7 New

                                                                                                                Registration by Party                                                                                     Registration by Race Without Regard to
                                                      Racial %s among D's                                         Racial %s among R's                                         Racial %s among U's                                          Party
                                       White % of   Black % of               Other % of            White % of   Black % of               Other % of            White % of   Black % of               Other % of
  District     VR Total       %D           D            D        NA % of D       D        %R            R           R        NA % of R       R        %U           U            U        NA % of U       U        %L      % White   % Black       % NA       % Other
     1           80,169       39.30%     52.27%      42.04%       0.29%        5.40%      35.69%     95.02%       1.61%       0.18%        3.19%      24.85%     80.66%      10.20%       0.27%        8.87%      0.16%    74.64%    19.63%       0.25%        5.48%
     2           95,876      34.98%     78.78%       15.54%       0.16%        5.53%      37.89%    96.25%        0.58%       0.09%        3.07%      26.93%    86.35%        4.21%       0.12%        9.33%      0.20%    87.45%     6.79%      0.12%         5.64%
     3           75,274      52.88%     34.58%       57.53%       0.28%        7.61%      22.02%    89.97%        4.19%       0.14%        5.70%      24.91%    63.85%       20.78%       0.28%       15.09%      0.19%    54.14%    36.54%      0.25%         9.07%
     4           75,874      63.85%     26.68%       67.66%       0.25%        5.40%      13.12%    86.93%        7.77%       0.28%        5.01%      22.82%    57.68%       27.05%       0.30%       14.97%      0.20%    41.75%    50.43%      0.26%         7.55%
     5           80,769      41.51%     62.48%       27.78%       0.32%        9.42%      26.13%    93.38%        1.28%       0.22%        5.12%      32.05%    75.75%        8.48%       0.23%       15.54%      0.30%    74.87%    14.60%      0.27%        10.26%
     6           89,349      32.39%     72.59%       19.10%       0.23%        8.08%      37.01%    95.47%        0.78%       0.11%        3.64%      30.38%    83.38%        4.13%       0.21%       12.28%      0.21%    84.37%     7.73%      0.18%         7.71%
     7           77,849      32.51%     62.70%       29.32%       0.34%        7.64%      37.16%    95.55%        0.96%       0.13%        3.36%      30.13%    82.59%        5.34%       0.20%       11.87%      0.21%    80.94%    11.51%      0.22%         7.33%
   Totals:      575,160      41.92%     52.85%       39.99%       0.26%        6.90%      30.35%    94.31%        1.69%       0.15%        3.85%      27.52%    77.03%       10.28%       0.22%       12.47%      0.21%    72.15%    20.11%      0.22%         7.52%




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North Carolina General Assembly                                                                     Stat. Pack Report of Voter Registration by Gender, Age & Ethnicity                                                                     Data Source: NC Board of Elections
                                                                                                                               Wake 7 New

                                        Voter Registration by Gender                                                         Voter Registration by Age                                                          Voter Registration by Ethnicity
   District      Total        Male     Male %     Female     Female %        Undes.        Total     18-25      18-25 %     26-40    26-40 %       41-65     41-65 %       66+    66+ %     Total    Hispanic   Hisp %    Non-Hisp Non H %        Undesign. Undes. %
      1         80,140       36,743    45.85%      42,865      53.49%    532      0.66%   80,144      7,825      9.76%     23,587    29.43%       39,127     48.82%       9,605   11.99%   80,142     1,362     1.70%      64,628      80.64%      14,152    17.66%
      2         95,937       45,132    47.04%      50,333      52.46%    472      0.49%   95,929      9,102      9.49%     25,014    26.07%       48,131     50.17%      13,682   14.26%   95,938      996      1.04%       81,024     84.45%      13,918    14.51%
      3         75,071       32,742    43.61%      41,617      55.44%    712      0.95%   75,107      8,179     10.90%     26,906    35.84%       31,780     42.33%       8,242   10.98%   75,068     2,091     2.79%       55,785     74.31%      17,192    22.90%
      4         76,019       34,064    44.81%      41,006      53.94%    949      1.25%   75,991     15,369     20.22%     25,805    33.95%       26,626     35.03%       8,191   10.77%   76,023     1,343     1.77%       49,717     65.40%      24,963    32.84%
      5         80,751       37,248    46.13%      42,834      53.04%    669      0.83%   80,751      9,989     12.37%     30,731    38.06%       30,723     38.05%       9,308   11.53%   80,746     1,611     2.00%       59,978     74.28%      19,157    23.73%
      6         89,324       42,535    47.62%      46,363      51.90%    426      0.48%   89,333      9,148     10.24%     21,774    24.38%       47,655     53.35%      10,756   12.04%   89,325     1,208     1.35%       71,961     80.56%      16,156    18.09%
      7         77,918       36,594    46.96%      40,921      52.52%    403      0.52%   77,905      6,908      8.87%     25,487    32.71%       38,232     49.07%       7,278    9.34%   77,918     1,380     1.77%       60,986     78.27%      15,552    19.96%
   Totals:      575,160      265,058   46.08%     305,939      53.19%   4,163     0.72%   575,160    66,520     11.57%     179,304   31.17%       262,274    45.60%      67,062   11.66%   575,160    9,991     1.74%      444,079     77.21%      121,090   21.05%




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North Carolina General Assembly                                                                                            Stat. Pack Report of 2004 Election Results                                                                                          Data Source: NC Board of Elections
                                                                                                                                         Wake 7 New

                     2004 Auditor Campbell-Merritt                    2004 Governor Easley-Ballantine-Howe                                      2004 President Kerry-Bush-Badnarik                                              2004 US Senate Bowles-Burr-Bailey
  District      Dem       Dem %         Rep       Rep %     Dem     Dem %        Rep       Rep %        Lib    Lib %    Dem      Dem %        Rep       Rep %         Lib     Lib %   Other   Other %     Dem     Dem %       Rep       Rep %       Lib       Lib %       Other       Other %
     1         11,561     42.75%      15,484     57.25%    14,516   51.68%     13,189     46.96%        381    1.36%   10,612    37.98%      17,217     61.63%         96     0.34%    13      0.05%     11,545   41.76%    15,755     56.98%       348       1.26%         0          0.00%
     2         20,889     44.47%      26,085     55.53%    26,378   53.53%     22,224     45.10%        672    1.36%   19,624    39.82%      29,437     59.73%        185     0.38%    37      0.08%     21,111   43.38%    27,058     55.60%       500       1.03%         0          0.00%
     3         17,142     59.86%      11,494     40.14%    18,878   63.71%     10,199     34.42%        552    1.86%   16,254    55.19%      13,036     44.26%        140     0.48%    20      0.07%     16,925   58.04%    11,797     40.45%       440       1.51%         0          0.00%
     4         21,165     75.77%       6,770     24.23%    22,056   76.42%      6,261     21.69%        545    1.89%   20,691    72.11%      7,829      27.29%        129     0.45%    44      0.15%     21,150   74.26%     6,993     24.55%       337       1.18%         0          0.00%
     5         16,669     54.60%      13,862     45.40%    19,805   61.42%     11,728     36.37%        714    2.21%   16,688    51.71%      15,353     47.57%        199     0.62%    35      0.11%     17,141   53.94%    14,043     44.19%       595       1.87%         0          0.00%
     6         16,614     42.11%      22,840     57.89%    21,693   51.97%     19,373     46.41%        676    1.62%   16,097    38.54%      25,430     60.88%        210     0.50%    32      0.08%     17,031   41.39%    23,487     57.08%       629       1.53%         0          0.00%
     7         11,827     41.64%      16,574     58.36%    15,193   50.75%     14,284     47.71%        462    1.54%   11,211    37.50%      18,542     62.02%        122     0.41%    23      0.08%     11,965   40.56%    17,110     58.00%       423       1.43%         0          0.00%
  Totals:      115,867    50.60%     113,109     49.40%   138,519   57.77%     97,258     40.56%       4,002   1.67%   111,177   46.46%     126,844     53.00%       1,081    0.45%    204     0.09%    116,868   49.44%   116,243     49.18%      3,272      1.38%         0          0.00%




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North Carolina General Assembly                                                                                                            Elections 2008 Results - 1                                                                                                         Data Source: NC Board of Elections
                                                                                                                                                  Wake 7 New

                       2008 A. G. Cooper-Crumley               2008 Comm. Ag Ansley-Troxler          2008 Comm. of Labor Donnan-Berry          2008 State Auditor Wood-Merrit                          2008 Comm. of Insurance Goodwin-Odom                         2008 Super.of P.I. Atkinson-Morgan
  District      Dem        Dem %        Rep      Rep %     Dem       Dem %      Rep       Rep %    Dem      Dem %        Rep     Rep %     Dem       Dem %        Rep      Rep %     Dem      Dem %      Rep    Rep %         Lib      Lib %   Other   Other %    Dem      Dem %          Rep      Rep %
     1         36,548     61.57%      22,812     38.43%   24,409     41.59%   34,277     58.41%   25,703    44.10%     32,585    55.90%   27,022     46.31%      31,331    53.69%   27,575    47.31%   28,501   48.90%       2,178     3.74%    33      0.06%    29,706    51.08%        28,447    48.92%
     2         47,092     62.27%      28,534     37.73%   27,236     36.74%   46,891     63.26%   29,786    40.35%     44,030    59.65%   31,620     42.90%      42,087    57.10%   33,118    44.80%   38,103   51.55%       2,655     3.59%    43      0.06%    37,238    50.65%        36,276    49.35%
     3         42,578     76.39%      13,160     23.61%   33,539     60.96%   21,479     39.04%   34,363    62.61%     20,517    37.39%   35,944     65.55%      18,887    34.45%   35,777    64.99%   17,266   31.36%       1,981     3.60%    27      0.05%    37,758    69.00%        16,967    31.00%
     4         47,021     85.24%       8,145     14.76%   40,872     74.78%   13,787     25.22%   41,640    76.28%     12,945    23.72%   42,453     78.09%      11,908    21.91%   42,704    78.23%   10,007   18.33%       1,833     3.36%    44      0.08%    44,151    81.16%        10,252    18.84%
     5         40,620     70.89%      16,682     29.11%   29,139     51.76%   27,154     48.24%   30,767    54.79%     25,389    45.21%   32,187     57.50%      23,792    42.50%   32,706    58.22%   20,563   36.61%       2,871     5.11%    34      0.06%    35,343    63.22%        20,561    36.78%
     6         40,925     60.60%      26,604     39.40%   24,887     37.51%   41,456     62.49%   26,946    40.77%     39,154    59.23%   28,936     43.94%      36,923    56.06%   29,835    45.30%   32,964   50.05%       3,012     4.57%    46      0.07%    32,702    49.69%        33,110    50.31%
     7         33,595     58.96%      23,384     41.04%   21,991     39.25%   34,035     60.75%   23,244    41.57%     32,670    58.43%   25,127     45.08%      30,610    54.92%   25,022    44.86%   27,687   49.64%       3,021     5.42%    43      0.08%    27,209    48.86%        28,476    51.14%
  Totals:      288,379     67.43%     139,321    32.57%   202,073    47.98%   219,079    52.02%   212,449   50.61%     207,290   49.39%   223,289    53.31%     195,538    46.69%   226,737   54.03%   175,091  41.72%      17,551     4.18%   270      0.06%    244,107   58.37%       174,089    41.63%




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North Carolina General Assembly                                                                                                                               Elections 2008 Results - 2                                                                                                                                 Data Source: NC Board of Elections
                                                                                                                                                                     Wake 7 New


                            2008 Lt. Governor Dalton-Pittenger-Rhodes                      2008 Governor Perdue-McCrory-Munger                                  2008 President Obama-McCain-Barr                                          2008 US Senate Hagan-Dole                                       2008 Straight Party
  District      Dem         Dem %        Rep        Rep %        Lib    Lib %    Dem      Dem %       Rep       Rep %      Lib    Lib %    Dem      Dem %      Rep      Rep %       Lib      Lib %   Other   Other %    Dem      Dem %          Rep      Rep %      Other    Other %    Dem      Dem %      Rep       Rep %         Lib.       Lib%
     1         27,919       47.03%      29,617     49.89%       1,833   3.09%   27,790    45.89%    30,840     50.93%     1,929   3.19%   29,386    48.13%   31,063     50.88%      414      0.68%    188     0.31%    29,632    48.90%       29,181     48.15%     1,790     2.95%    15,537    51.59%   14,388     47.77%         193        0.64%
     2         33,676       44.70%      39,087     51.88%       2,577   3.42%   31,784    41.10%    42,616     55.10%     2,937   3.80%   37,594    48.19%   39,698     50.88%      495      0.63%    232     0.30%    37,000    47.77%       38,466     49.66%     1,987     2.57%    15,310    46.59%   17,329     52.73%         223        0.68%
     3         36,271       65.00%      17,698     31.72%       1,830   3.28%   35,700    62.86%    19,170     33.75%     1,922   3.38%   38,771    67.69%   18,008     31.44%      312      0.54%    185     0.32%    37,934    66.73%       17,298     30.43%     1,611     2.83%    22,719    73.21%    8,087     26.06%         226        0.73%
     4         43,174       78.23%      10,330     18.72%       1,683   3.05%   42,201    75.02%    12,234     21.75%     1,817   3.23%   46,156    81.03%   10,356     18.18%      296      0.52%    153     0.27%    44,661    79.32%       10,322     18.33%     1,319     2.34%    30,237    86.53%    4,492     12.86%         213        0.61%
     5         32,972       57.52%      21,810     38.05%       2,542   4.43%   32,062    54.47%    23,959     40.70%     2,840   4.82%   36,955    61.96%   21,974     36.85%      443      0.74%    267     0.45%    35,676    60.45%       21,256     36.02%     2,084     3.53%    18,130    64.69%    9,614     34.31%         281        1.00%
     6         29,741       44.08%      35,206     52.18%       2,521   3.74%   29,059    41.90%    37,699     54.36%     2,598   3.75%   33,578    47.96%   35,681     50.96%      535      0.76%    220     0.31%    33,095    47.65%       34,107     49.10%     2,258     3.25%    14,304    46.76%   16,041     52.44%         244        0.80%
     7         25,082       43.92%      29,732     52.06%       2,293   4.02%   25,436    43.40%    30,726     52.43%     2,443   4.17%   28,451    47.99%   30,221     50.98%      436      0.74%    177     0.30%    27,776    47.33%       28,798     49.08%     2,107     3.59%    13,079    48.07%   13,919     51.15%         213        0.78%
  Totals:      228,835      53.52%     183,480     42.91%      15,279   3.57%   224,032   51.18%    197,244    45.06%    16,486   3.77%   250,891   56.73%   187,001    42.28%     2,931     0.66%   1,422    0.32%    245,774   56.07%       179,428    40.93%     13,156    3.00%    129,316   60.21%   83,870     39.05%        1,593       0.74%




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North Carolina General Assembly                                                            Stat. Pack Report of 2010 Election Results                                                  Data Source: NC Board of Elections
                                                                                                         Wake 7 New

                                                                           2010 Straight Party                                           2010 US Senate Marshall-Burr
                                            District    Dem     Dem %        Rep       Rep %      Lib.       Lib %       Dem       Dem %        Rep      Rep %       Other   Other %
                                               1        8,788   43.88%     11,166     55.75%       73        0.36%      15,750     40.62%     22,134     57.08%       893     2.30%
                                               2        8,886   38.58%     14,045     60.98%      103        0.45%      21,230     39.44%     31,348     58.24%      1,245    2.31%
                                               3       13,104   68.02%      6,073     31.52%       88        0.46%      21,256     61.83%     12,373     35.99%       747     2.17%
                                               4       15,879   84.50%      2,840     15.11%       73        0.39%      24,100     77.97%      6,265     20.27%       544     1.76%
                                               5        9,250   56.90%      6,906     42.48%      101        0.62%      18,495     53.29%     15,158     43.68%      1,052    3.03%
                                               6        8,507   39.47%     12,947     60.07%       98        0.45%      18,283     39.33%     27,065     58.22%      1,140    2.45%
                                               7        7,455   40.86%     10,699     58.64%       90        0.49%      14,210     38.40%     21,789     58.88%      1,005    2.72%
                                            Totals:    71,869   52.39%     64,676     47.15%       626       0.46%     133,324     48.29%    136,132     49.31%     6,626    2.40%




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